

People v Williams (2018 NY Slip Op 03031)





People v Williams


2018 NY Slip Op 03031


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, AND NEMOYER, JJ.


549 KA 16-00929

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vKEVIN WILLIAMS, ALSO KNOWN AS MAURICE WILLIAMS, DEFENDANT-APPELLANT. 






TIMOTHY P. DONAHER, PUBLIC DEFENDER, ROCHESTER (JANET C. SOMES OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (STEPHEN X. O'BRIEN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Monroe County Court (Melchor E. Castro, A.J.), entered August 21, 2015. The judgment revoked defendant's sentence of probation and imposed a sentence of imprisonment. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: April 27, 2018
Mark W. Bennett
Clerk of the Court








